         Case 1:21-cr-00087-TJK Document 53-1 Filed 03/09/23 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
               v.                              :    Case No. 21-CR-87 (TJK)
                                               :
MICHAEL SPARKS, et al.,                        :
                                               :
                      Defendants.              :


                                               ORDER

        Upon consideration of the United States’ Motion for Early Return of Trial Subpoenas

Pursuant to Federal Rule of Criminal Procedure 17(c), it is hereby ORDERED:

        1.     That Capital One and AT&T be required to comply with the proposed trial

subpoenas by producing records as described in Attachment A to each subpoena, a redacted copy

of which was appended to the government’s motion;

        2.     That Capital One and AT&T, in lieu of appearing in court with the requested

records, may provide them directly to the U.S. Attorney’s Office for the District of Columbia or

the FBI before April 28, 2023, at 1:30 p.m.;

        3.     That the United States shall produce any subpoena results received promptly to the

defendants through the discovery process; and

        4.     That the United States may grant either of the entities subpoenaed any requested

necessary extensions of time to comply with the subpoenas.

        SO ORDERED.



                                                    _________________________
                                                    TIMOTHY J. KELLY
                                                    United States District Judge
Date:
